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PAT RIE
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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   

  

IN RE METROPOLITAN CONTRACT SERVICES AND PIONEER CONTRACT
SERVICES ERISA LITIGATION

ORDER DENYING TRANSFER*

Presently before the Panel is a motion, pursuant to
28 U.S.C. §1407, brought by most of the defendants in the
two actions listed on the attached Schedule A, for transfer
of the action pending in the Northern District of Alabama
to the Southern District of Texas for coordinated or consoli-_
dated pretrial proceedings with the action pending there.

On the basis of the papers filed and the hearing held,
we find that Section 1407 transfer would neither serve the
convenience of the parties and witnesses nor further the
just and efficient conduct of the litiqation. Given the
minimal number of actions before us, movants have failed
to persuade us that any common questions of fact involved
in these two actions are sufficiently complex, and that
the accompanying discovery will be so time-consuminada, as
to justify Section 1407 transfer. See In re Scotch Whiskey
Antitrust Litigation, 299 F. Supp. 543, 544 (J.P.M.L. 1969).
We note that suitable alternatives to transfer exist in
order to minimize the possibility of duplicative discovery
and/or conflicting pretrial rulings. see, e.g., In re Peni-
tentiary Postal Procedure Litigation, 465 F. Supp. 1293,
1294-95 (J.P.M.L. 1979); In re Commercial Lighting Products,
Inc. Contract Litigation, 415 F. Supp. 392, 393 (J.P.M.LL.
1976). See also Manual for Complex Litiqation, Parts I
and II, §§3.11 (rev. ed. 1977).

 

 

 

 

 

 

 

IT IS THEREFORE ORDERED that the motion for transfer
pursuant to 28 U.S.C. §1407 be, and the same hereby is,

 

DENTED.
FOR THE PANEL:
Andrew A. Caff Pty
Chairman
* Judge Fred Daugherty took no part in the decision of

this matter.
Case MDL No. 466 Document 2 Filed 05/19/15 Page 2 of 2

DOCKET NO. 466
SCHEDULE A
NORTHERN DISTRICT OF ALABAMA
Billy R. Adcock, et al. v. Pioneer Contract C.A. No.

Services, Inc., et al. v. Allied Bank of Texas CV80L5274NE

SOUTHERN DISTRICT OF TEXAS

 

Raymond J. Donovan, etc. v. Kenneth R. C.A. No.
Cunningham, et al. v. Allied Bank of Texas H~80-87
